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Fill in this information to identify your case:


Debtor 1 HENRY CARL RENKEN
                    First Name                 Middle Name              Last Name




Debtor 2
                                                                                                                                    ✔   Check if this is an amended
(Spouse, if filing) First Name                 Middle Name              Last Name                                                       plan, and list below the
                                                                                                                                        sections of the plan that have
                                                                                                                                        been changed.
United States Bankruptcy Court for the: Northern                   District Of: Illinois
                                                                               (State)                                              3.1, 3.2, 8.1

Case number: 18-33311
(If known)




 Official Form 113
 Chapter 13 Plan                                                                                                                                              12/17

   Part 1:         Notices

To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                        do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                        have an attorney, you may wish to consult one.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                        Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                        Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                        includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                        be ineffective if set out later in the plan.


    1.1       A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                   ✔ Included             Not included
              payment or no payment at all to the secured creditor

    1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                       Included         ✔ Not included
              Section 3.4

    1.3       Nonstandard provisions, set out in Part 8                                                                         ✔ Included             Not included


   Part 2:           Plan Payments and Length of Plan


2.1 Debtor(s) will make regular payments to the trustee as follows:

          $ 1406.00                per month        for 2       months

             [and $ 951.00         per month        for 3       months
          If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
          payments to creditors specified in this plan.
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2.2 Regular payments to the trustee will be made from future income in the following manner:
    Check all that apply.
     ✔ Debtor(s) will make payments pursuant to a payroll deduction order.

        Debtor(s) will make payments directly to the trustee.
        Other (specify method of payment):

2.3 Income tax refunds.
    Check one.
     ✔ Debtor(s) will retain any income tax refunds received during the plan term.

        Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will
        turn over to the trustee all income tax refunds received during the plan term.
        Debtor(s) will treat income tax refunds as follows:


2.4 Additional payments.

    Check one.
        None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
     ✔ Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated amount,
        and date of each anticipated payment.
    Sale of Real Estate at 412 Maclaren Ln Lake Bluff, IL                                       $ 2900.00                        4/30/19

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $ $8,565.00


 Part 3::    Treatment of Secured Claims


3.1 Maintenance of payments and cure of default, if any.

    Check one.
         None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
      ✔ The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by
         the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
         directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
         trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the
         filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and
         arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay
         is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this
         paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
         column includes only payments disbursed by the trustee rather than by the debtor(s).

                                                                                Current         Amount of       Interest rate     Monthly plan    Estimated total
              Name of creditor                      Collateral               installment       arrearage (If   on arrearage       payment on       payments by
                                                                               payment             any)        (If applicable)     arrearage          trustee
                                                                              (including
     MTGLQ INVESTORS, L.P                412 Mac Laren Ln Lake Bluff, $ 800.00             $                          0.00 % $ 0.00              $ 4,000.00
                                         IL
                                                                         Distributed by:
                                                                         ✔    Trustee
                                                                              Debtor(s)


                                                                         $                 $                                % $                  $
                                                                         Distributed by:
                                                                              Trustee
                                                                              Debtor(s)
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                                                                                      Current            Amount of       Interest rate      Monthly plan   Estimated total
                 Name of creditor                         Collateral               installment          arrearage (If   on arrearage        payment on      payments by
                                                                                     payment                any)        (If applicable)      arrearage         trustee
                                                                                    (including
                                                                               $                   $                                 % $                   $
                                                                               Distributed by:
                                                                                       Trustee
                                                                                       Debtor(s)



      Insert additional claims as needed.


3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

      ✔ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

          The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured claim
          listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
          claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
          claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of
          the secured claim will be paid in full with interest at the rate stated below.
          The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this
          plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
          as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the creditor’s total claim listed on the
          proof of claim controls over any contrary amounts listed in this paragraph.
          The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
          of the debtor(s) or the estate(s) until the earlier of:
          (a) payment of the underlying debt determined under nonbankruptcy law, or
          (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

                             Estimated
                                                                                            Amount of                                          Monthly     Estimated total
                             amount of                                    Value of                          Amount of
     Name of Creditor                                 Collateral                         claims senior to                   Interest rate     payment to     of monthly
                           creditor's total                               Collateral                      secured claim
                                                                                         creditor's claim                                      creditor      payments
                               claim

                           $ 1,625.00         412 Mac Laren Ln Lake Blu $ 500,000.00     $ 270,904.99     $                        0.00 % $ 0.00           $ 0.00
IRS
Illinois Department of
                           $ 10,057.37        412 Mac Laren Ln Lake Blu $ 500,000.00     $ 274,154.99     $                        0.00 % $ 0.00           $ 0.00
Revenue

      Insert additional claims as needed.

3.3 Secured claims excluded from 11 U.S.C. § 506.

     Check one.

      ✔ None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

         The claims listed below were either:
     (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
          personal use of the debtor(s), or
     (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
     These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
     directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the
     filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of
     claim, the amounts stated below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).
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                                                                                                                                                                     Estimated total
                                                                                                                   Amount of                         Monthly plan
                    Name of Creditor                                             Collateral                                       Interest rate                       payments by
                                                                                                                     claim                            payment
                                                                                                                                                                         trustee
                                                                                                               $                               % $                   $

                                                                                                                                                   Distributed by:

                                                                                                                                                   ✔ Trustee

                                                                                                                                                        Debtor(s)

3.4 Lien avoidance.

    Check one.

     ✔ None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

        The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
        debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest
        securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
        amount of the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The
        amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C.
        § 522(f) and Bankruptcy Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.


                      Information regarding judicial                                                                        Treatment of remaining secured
                                                                          Calculation of lien avoidance
                          lien or security interest                                                                                      claim

                    Name of creditor                   a. Amount of Lien                                                Amount of secured claim after
                                                                                                      $                 avoidance (line a minus line f)
                                                       b. Amount of all other liens
                                                                                                      $                 $
                                                       c. Value of claimed exemptions
                                                                                                      +$                Interest rate (if applicable)
                    Collateral
                                                       d. Total of adding lines a, b, and c                                                %
                                                                                                      $ 0.00

                                                       e. Value of debtor(s)' interest in property                      Monthly payment on secured claim
                                                                                                      -$
                    Lien identification (such as                                                                        $
                    judgment date, date of lien        f. Subtract line e from line d.
                    recording, book and page                                                          $ 0.00
                    number)                                                                                             Estimated total payments on secured
                                                                                                                        claim
                                                       Extent of exemption impairment
                                                       (Check applicable box):                                          $
                                                       ✔ Line f is equal to or greater than line a
                                                       The entire lien is avoided. (Do not complete
                                                       the next column.)

                                                           Line f is less than line a.
                                                       A portion of the lien is avoided. (Complete
                                                       the next column.)



                    Insert additional claims as needed.



3.5 Surrender of collateral.

Check one.

     ✔ None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
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           The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that
        upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
        be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.

        Name of Creditor                                                            Collateral




        Insert additional claims as needed.


 Part 4:       Treatment of Fees and Priority Claims


4.1 General

    Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
    postpetition interest.


4.2 Trustee’s fees

    Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 5.500 % of plan payments; and
    during the plan term, they are estimated to total $ 471.07        .

4.3 Attorney’s fees

    The balance of the fees owed to the attorney for the debtor(s) is estimated to be $ 2,943.00             .

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

    Check one.

     ✔ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

        The debtor(s) estimate the total amount of other priority claims to be $                     .

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

    Check one.

     ✔ None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

        The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
        governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision
        requires that payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).

        Name of Creditor                                                                      Amount of claim to be paid

                                                                                              $

       Insert additional claims as needed.
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 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

    Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
    providing the largest payment will be effective. Check all that apply.

            The sum of $                      .
       ✔    100.000% of the total amount of these claims, an estimated payment of $ 100.00                       .
       ✔    The funds remaining after disbursements have been made to all other creditors provided for in this plan.
           If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 400.00                                .
           Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.


5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

       ✔ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.


           The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
           on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the
           debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee.
           The final column includes only payments disbursed by the trustee rather than by the debtor(s).

              Name of creditor                                                 Current            Amount of              Estimated total
                                                                               installment        arrearage to be        payments by
                                                                               payment            paid                   trustee
                                                                           $                  $                      $

                                                                           Distributed by:

                                                                            ✔ Trustee

                                                                                 Debtor(s)

       Insert additional claims as needed.

  5.3 Other separately classified nonpriority unsecured claims. Check one.

       ✔ None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

           The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows


                                                                                                                                                          Estimated total
                                                                                                                 Amount to be          Interest rate
                           Name of creditor                Basis for separate classification and treatment                                                  amount of
                                                                                                                 paid on claim        (if applicable)
                                                                                                                                                            payments

                                                                                                             $                                      % $

       Insert additional claims as needed.
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 Part 6:       Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
    and unexpired leases are rejected. Check one.

     ✔ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

       Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject
       to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed
       by the trustee rather than by the debtor(s).
                                                                                         Current               Amount of                                                        Estimated total
                                            Description of leased property or                                                           Treatment of arrearage
           Name of creditor                                                            installment          arrearage to be                                                      payments by
                                                   executory contract                                                         (refer to other plan section if applicable)
                                                                                        payment                  paid                                                               trustee
                                                                                   $                    $                                                                   $

                                                                                   Disbursed by:

                                                                                    ✔ Trustee

                                                                                           Debtor(s)

       Insert additional contracts or leases as needed




 Part 7:       Vesting of Property of the Estate


 7.1 Property of the estate will vest in the debtor(s) upon
      Check the applicable box:

            plan confirmation.
      ✔     entry of discharge.
            other:                                                                     .


 Part 8:       Nonstandard Plan Provisions


 8.1 Check “None” or List Nonstandard Plan Provisions

           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the
 Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

 The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

       1. The secured debt to MTGLQ INVESTORS is listed in section 3.1. The arrearage of MTGLQ INVESTORS, L.P is $187,827.30. This amount will be paid at the
       closing when the property at 412 Mac Laren Ln Lake Bluff, IL is sold. The trustee will not pay on the arrearage. The trustee will pay pre-confirmation payments of
       $800 per month.
       2. The debt owed to the IRS is listed in section 3.2. It is fully secured by a tax lien against the real estate at 412 Mac Laren Ln Lake Bluff, IL. This debt will be paid
       at the closing when the property at 412 Mac Laren Ln Lake Bluff, IL is sold. The trustee will not pay on this debt.
       3. The debt owed to the Illinois Department of Revenue is listed in section 3.2. It is fully secured by a tax lien against the real estate at 412 Mac Laren Ln Lake
       Bluff, IL. This debt will be paid at the closing when the property at 412 Mac Laren Ln Lake Bluff, IL is sold. The trustee will not pay on this debt.
       4. The GUCs shall be paid with interest of 5%.
       5. The Debtor shall sell the real estate at 12 Mclaren Ln & 0 Sheridan Place and 0 Sheridan Place, Lake Bluff, IL. The Debtor shall obtain a contract for sale by
       month 5 of the plan and shall provide a copy of the contract to the Trustee.
       6. The Debtor shall complete the sale and provide the trustee with proceeds necessary to complete the plan by month 5 of the plan.
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 Part 9:      Signature(s):


 9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,
must sign below.


   û
       Signature of Debtor 1                                            Signature of Debtor 2

       Executed on                                                      Executed on
                     MM / DD / YYYY                                                   MM / DD / YYYY




   û  /s/ Richard E Sexner                                      Date    03/05/19
       Signature of Attorney for Debtor(s)                               MM / DD / YYYY



 By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
 also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
 those contained in Official Form 113, other than any nonstandard provisions included in Part 8.
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Exhibit: Total Amount of Estimated Trustee Payments
     The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
     out below and the actual plan terms, the plan terms control.

a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                          $ 4,000.00

b.   Modified secured claims (Part 3, Section 3.2 total)                                                  $ 0.00


c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                             $


d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                   $


e.   Fees and priority claims (Part 4 total)                                                              $ 3,414.07


f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                            $ 400.00

                                                                                                          $
g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)

h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                   $


i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)             $


j.   Nonstandard payments (Part 8, total)                                                           +     $


     Total of lines a through j                                                                           $ 7,814.07
